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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                                CENTRAL DIVISION
                                   (at Frankfort)

 UNITED STATES OF AMERICA,                     )
                                               )
        Plaintiff,                             )     Criminal Action No. 3: 08-21-DCR
                                               )
 V.                                            )
                                               )
 LEONARD LAWSON, CHARLES                       )
 WILLIAM NIGHBERT and BRIAN                    )                   ORDER
 RUSSELL BILLINGS,                             )
                                               )
        Defendants.                            )

                                     *** *** *** ***

       This matter is pending for consideration of the United States Magistrate Judge’s Report

and Recommendation concerning Defendant Lawson’s motion to exclude the government’s

proffered expert witness. [Record Nos. 128 and 330] The Magistrate Judge has recommended

that the Defendant’s motion be denied and that his request for alternative relief be denied.

       Because the Court agrees with the analysis contained in the Report and Recommendation,

and because the Defendant has not objected to the Report and Recommendation within the time

permitted, the recommendation will be adopted in full. Accordingly, it is hereby

       ORDERED as follows:

       1.     The Report and Recommendation of United States Magistrate Judge James B.

Todd [Record No. 330] is ADOPTED and INCORPORATED herein by reference.

       2.     Defendant Lawson’s motion to exclude in limine the government’s proffered

expert witness [Record No. 128] is DENIED. Likewise, the Defendant’s request for alternative

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relief consisting of a perfected 16(a)(1)(G) disclosure and a witness qualification hearing is

DENIED.

       This 1st day of May, 2009.




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